       Case 3:20-cv-00283-SDD-RLB         Document 40    07/13/20 Page 1 of 1




                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA


CLARK, et al
                                                                   CIVIL ACTION
VERSUS
                                                                   20-308-SDD-RLB
JOHN BEL EDWARDS, et al

consolidated with

POWER COALITION FOR EQUITY
AND JUSTICE, et al
                                                                   CIVIL ACTION
VERSUS
                                                                   20-283-SDD-RLB
JOHN BEL EDWARDS, et al


                                     JUDGMENT

      For the written reasons assigned:

      Judgment is hereby entered in favor of Defendants, Governor John Bel Edwards,

Attorney General Jeff Landry, and Secretary of State Kyle Ardoin. Plaintiffs’ claims are

dismissed WITHOUT prejudice.

      IT IS SO ORDERED.

      Signed in Baton Rouge, Louisiana on June 30, 2020.




                                     S
                                     JUDGE SHELLY D. DICK
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
